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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                       Case No. 1:16-cv-1534-JEB
                                                       (and Consolidated Case Nos. 16-cv-1796
               Plaintiff,
                                                       and 17-cv-267)
       and
                                                       PLAINTIFFS’ STATUS REPORT
CHEYENNE RIVER SIOUX TRIBE,

               Plaintiff-Intervenor,
       v.

U.S. ARMY CORPS OF ENGINEERS,

               Defendant-Cross Defendant,

       and

DAKOTA ACCESS, LLC,

               Defendant-Intervenor-Cross
               Claimant.


       Plaintiffs Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe,

and Yankton Sioux Tribe (“Tribes”) respectfully file this joint status report in accordance with

this Court’s order dated May 21, 2022 asking the parties to identify “potential next steps in this

litigation.” ECF 606. Plaintiffs propose as follows:

       In Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 985 F.3d 1032 (D.C. Cir.

2021), the D.C. Circuit upheld this Court’s summary judgment order vacating the Lake Oahe

easement and remanding to the Corps for preparation of an environmental impact statement

(“EIS”). This Court subsequently denied plaintiffs’ motion for a permanent injunction. ECF

607. The Corps has commenced work on the EIS and at this time believes that the process will



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be complete in March 2022. ECF 601. With respect to “next steps,” the Tribes submit that this

case is not over until the Corps has complied with NEPA and issued a new final easement

decision. Under the “unusual” facts of this case, Standing Rock, 985 F.3d at 1054, the pipeline

continues to operate without an easement in violation of NEPA. The Corps continues to consider

enforcement actions, which would likely spawn further litigation. ECF 601. And the Tribes may

seek additional relief from this Court depending on the pace of the EIS and facts on the ground.

       Accordingly, this Court should retain jurisdiction over this case to ensure compliance

with the EIS process, and to evaluate requests for interim relief. As the D.C. Circuit recognized

in Cobell v. Norton, 240 F.3d 1081, 1109 (D.C. Cir. 2001), courts routinely exercise discretion to

retain jurisdiction over remands so “to ensure that its instructions are followed.” See also In re

United Mine Workers of Amer. Int’l Union, 190 F.3d 545, 546 (D.C. Cir. 1999) (retaining

jurisdiction and requiring status reports pending completion of agency action); Northern States

Power Co. v. U.S. Dep’t of Energy, 128 F.3d 754, 760 (D.C. Cir. 1997) (retaining jurisdiction

pending agency’s compliance with court’s mandate); Air Line Pilots Ass’n, Int’l v. CAB, 750

F.2d 81, 88–89 (D.C. Cir. 1984) (retaining jurisdiction and ordering periodic progress reports).

       This is commonplace in NEPA cases where a court orders preparation of an EA or EIS,

and retains jurisdiction to ensure that the agency complies. WildEarth Guardians v. Zinke, 368

F. Supp. 3d 41, 85 (D.D.C. 2019) (“After BLM’s work on remand, Plaintiffs may again address

whether BLM fulfilled its NEPA obligations. The Court will retain jurisdiction over this matter

until those obligations are satisfied.”); Anacostia Watershed Soc. v. Babbitt, 871 F. Supp. 475,

488 (D.D.C. 1994) (“The Court shall retain jurisdiction over this matter to facilitate prompt

judicial review (a) if Defendants fail to comply with this Order and (b) if a change in the status

quo with respect to the leased lands is threatened before the Defendants have fully complied with


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the National Environmental Policy Act.”); Gov’t of Province of Manitoba v. Norton, 398 F.

Supp. 2d 41, 67 (D.D.C. 2005) (same). This is the approach this Court adopted last time when it

ordered a remand to address the Corps’ NEPA violations. This Court has also ruled that it has

the authority to impose interim conditions during a NEPA remand to “ensure” that the remedies

are appropriate “and to monitor any factual developments in this ongoing case.” Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs, 280 F. Supp. 3d 187, 191 (D.D.C. 2017).

       Accordingly, the Tribes respectfully request that this Court retain jurisdiction over this

matter pending completion of the EIS process and issuance of a new easement. Once the

easement decision has been made, the Court can direct the parties to file a new status report

addressing any remaining matters that must be resolved by this Court. Additionally, the Court

should impose the following interim conditions until the remand process is complete:

               1.      The Corps should provide monthly status reports on: a) the status of the
       EIS process and estimated date for completion and a new MLA decision; and b) any
       information potentially relevant to the question of “irreparable harm,” such as safety
       violations or incidents (leaks, spills, shutdowns) on the pipeline; and c) a statement as to
       “how and on what terms the Corps will enforce its property rights” as to the ongoing
       operation of the pipeline in the absence of an easement, and how the absence of any
       enforcement action does not constitute a “de facto outgrant without engaging in the
       NEPA analysis” that is required, per the DC Circuit direction.

              2.       DAPL should also provide monthly status reports to the Court, as directed
       by item No. 3 in this Court in its Dec. 4, 2017 Order (ECF 303). The report should
       include the status of DAPL’s “optimization” plan to increase pipeline throughput,
       including the status of permitting and any operations above 570,000 barrels/day.

DATED: June 11, 2021.
                                              Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 11, 2021, I electronically filed the foregoing JOINT

STATUS REPORT with the Clerk of the Court using the CM/ECF system, which will send

notification of this filing to the attorneys of record and all registered participants.



                                                        /s/ Jan E. Hasselman
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